Case 5:16-cv-00155-SLP Document 1-1 Filed 02/18/16 Page 1of1

989.44 (Rev. 12/12) CIVIL COVER SHEET

The J5 44 civil cover sheed and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by focal rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of inifiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

Big Cat Rescue Corp., a Florida not-for-profit corporation, Shirley M. Schreibvogel, an individual,

{b} County of Residence of First Listed Plaintiff Hillsborough County, FL County of Residence of First Listed Defendant _Garvin County, OK
(EXCEPT IN U.S, PLAINTIFF CASES} (IN US. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

(c} Attorneys (Finn Name, Address, and Telephone Niunber} Attorneys {ifKnown)

Phillips Murrah P.C., Corporate Tower, 13th Floor, 101 N Robinson,
Oklahoma City, OK 73102; (405) 235-4100

 

 

Il, BASIS OF JURISDICTION (Place an “X” in One Box Onfy) JIL CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X"" in One Box for Plaintify
(Far Diversity Cases Oniy} and One Box for Defendant)
O1 US. Government 113° Federal Question PTF DEF PTF DEF
Plaintiff (US. Government Nota Party) Citizen of This State O 1 & E Incorporated ar Principal Place o4 o4
of Business In This State
2 U.S. Government 4 Diversity Citizen of Another State O02 © 2 Incorporated and Principal Place Ws a5
Defendant Cndicate Citizenship of Parties in Hem TID of Business In Another State
Citizen or Subject of a G3 OG 3 Foreign Nation o6 6
Foreign Country

 

 

  

IV. NATURE OF SUIT (lace an “X" in One Box Oaly)

   

 

  

 

  

    

 

        

 

      

    
 

    

   

   

 

ONTRA “TORTS: “SF ORFEIFURE/PENALTY.
C7 116 Insurance PERSONAL INJURY PERSONAL INJURY = | 625 Drug Related Seizure O 422 Appeal 28 USC [58 O 375 False Claims Act
0 120 Marine (J 316 Airplane O 365 Personal Injury - of Property 21 USC 881 7 423 Withdrawal 71 400 State Reapportionment
© 130 Miller Act J 315 Airplane Product Product Liability © 690 Other 28 USC 157 © 4£0 Antitrust
© 140 Negotiable Insteument Liability 0 367 Health Care/ 0 430 Banks and Banking
CT 150 Recevery of Overpayment | 320 Assault, Libel & Phannaceutical 2S PROPERTY: RIGHT, O 450 Commerce
& Enforcement of Judgment Slander Personal Injury G 820 Copyrights O 460 Deportation
OF 151 Medicare Act £7 330 Federal Employers’ Product Liability OG 830 Patent O 476 Racketeer Influenced and
CF 152 Recovery of Defaulted Liability OF 368 Asbestos Personal Of 840 Trademark Cormupt Organizations
Student Loans CF 340 Marine Injury Product OG 480 Consumer Credit
(Excludes Veterans) 0) 345 Marine Product Liability i ARORES ‘SSOCIALSECURFFY: OG 490 Cabte/Sat TV
0 133 Recovery of Overpayment Liability PERSONAL PROPERTY | 710 Fait Labor Standards O 861 BIA (13058) OF 850 Securities*Commaditicsr
of Veteran's Benefits 0 450 Motor Vehicte O 370 Other Fraud Act ~ O 862 Black Lung (923) Exchange
OC 164 Stockholders’ Suits © 355 Motor Vehicle O 371 Truth in Lending & 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 38 890 Other Statutory Actions
G 290 Other Contract Product Liahility O 380 Other Personal Relations 6 864 SSID Title XVI O 891 Agricultural Acts
G [95 Contract Product Liability {1G 366 Other Personal Property Damage CI 740 Railway Labor Act C1 865 RSI (405(g)) 893 Environmental Maiters
1 196 Franchise injury G 385 Property Damage 1 751 Family and Medical 6 895 Freedom of Information
C7 362 Personal Injury - Product Liability Leave Act Act
Medical Matpractice © 790 Other Labor Litigation 0 896 Arbitration
EE REATSPROPERT' *RISONER PETITIONS |0 79] Employee Retirement FEDERAL TAX SUIT. C1 899 Administrative Procedure
OG 210 Land Condemnation CF 440 Other Civil Rights Habeas Corpus: dacome Security Act O 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
CJ 220 Foreclosure CG 441 Voting 0 463 Alien Detainee or Defendant) Agency Decision
(7 230 Rent Lease & Ejectment CG 442 Employment 0 510 Motions to Vacate G 47] IRS—Third Party G 950 Constitutionality of
OF 246 Torts to Land 0 443 Housingf Sentence 26 USC 7609 State Statutes
0 245 Tort Product Liability Accommodations 1 530 Genera?
© 290 Ail Other Real Property 0 445 Amer. w/Disabilities - | 535 Death Penalty :
Employment Other: © 462 Naturalization Application
0] 446 Amer. w/Disabilities -~[101 540 Mandarnus & Other [CF 465 Ozher Emigration
Other O 558 Civil Rights Actions
G 448 Education O 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

¥Y. ORIGIN (Place an °X” in One Box Only)

Lt Originat (42 Removed from O 3° Remanded from O 4 Reinstatedor O 5 Transferredfrom OC) 6 Mutltidistriet
Proceeding State Court Appellate Court Reopened Another District Litigation
specify

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes uutess diversity):
28 U.S.C. § 1332(ay(1)

Brief description of cause: , . :
Action under OUFTA for fraudulent transfer of assets; constructive trust; equitable lien

VI CAUSE OF ACTION

 

 

 

 

 

 

Vil. REQUESTED IN O CHECK IF THIS iS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. exceeds 75,000.00 JURY DEMAND: Oyves No
VIII, RELATED CASE(S)
IF ANY (See instructions): an Robin J. Cauthron DOCKETNUMBER _8:14-cv-00377-C
DATE a / 8 / ¢
FOR OFFICE USE ONLY

 

 

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 
